Case 1:14-cV-OO779-P.]G ECF No. 92 filed 05/02/16 Page|D.l490 Page 1 of 3

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

DEBORAH K. MURPHY-DAVIDSON,
Plaintiff, Case No. 1:14-cv-779

V. Hon. Ray Kent

KENNETH J. STOLL and
COMFORCARE SENIOR SERVICES-
MID MICHIGAN,

Defendants.
/

VERDICT FORM

1. Did Mr. Stoll assault and batter Ms. Davidson?

Answer: 22 , ) (yes or no)

a. If yes, was the assault and battery the proximate cause of damages to Ms.
Davidson?

Answer: /\/{ 2 (yes or no)

b. If yes, was Mr. Stoll acting within the scope and course of his employment
with ComForcare at the time of the assault and battery?

Answer: 2[5 § (yes or no)

2. Did Mr. Stoll stalk Ms. Davidson?

Answer: fy 0 (yes or no)

a. If yes, was the stalking the proximate cause of damages to Ms. Davidson?

Case 1:14-cV-OO779-P.]G ECF No. 92 filed 05/02/16 Page|D.l491 Page 2 of 3

Answer: /l/O (yes or no)

b. If yes, was Mr. Stoll acting within the course and scope of his employment
with ComForcare at the time of the stalking:

Answer: /\/ 0 (yes or no)

Did Mr. Stoll intentionally inflict emotional distress on Ms. Davidson?

Answer 2[, § (yes or no)

a. If yes, did Mr. Stoll’s conduct proximately cause damage to Ms. Davidson?
Answer: >/[§ 5 (yes or no)
b. If yes, was Mr. Stoll acting within course and scope of his employment with
ComForcare when he intentionally inflicted emotional distress on Ms.
Davidson?

Answer: >[5 (yes or no)

If you find that Ms. Davidson suffered economic damages, what is the total
amount of such damages suffered to date?

Answer: $ O 00

If you find that Ms. Davidson will suffer economic damages in the future, what is
the total amount of such damages?

Answer: $ 0 \ 0 O

If you find that Ms. Davidson suffered non-economic damages, what is the total
amount of such damages to date?

Answer: $ LSQ glle

If you find that Ms. Davidson will suffer non-economic damages in the future,

Case 1:14-cV-OO779-P.]G ECF No. 92 filed 05/02/16 Page|D.1492 Page 3 of 3

what is the total amount of such damages?

Answer: $ 0 . 00

8. If you find that Mr. Stoll stalked Ms. Davidson, is she entitled to exemplary

damages?
Answer: 1150 (yes or no)

a. Ifyes, what is the amount of exemplary damages to which she is
entitled?

Answer: $ 0 . 0 0

5»;-/4 %/W 7/;/7%

